         IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF MISSOURI
                      WESTERN DIVISION

United States of America,                           )
                                                    )
                              Plaintiff,            )
                                                    )
       v.                                           )       Criminal Action Number
                                                    )       05-00169-01-CR-W-DW
Jarvis T. Williams,                                 )
                                                    )
                              Defendant.            )


                             Report and Recommendation

       Pending before the Court is Defendant Jarvis T. Williams’ Motion To Suppress, filed

December 1, 2005 (Doc. #35). On January 12, 2006, the undersigned held an evidentiary

hearing on the referenced motion. Defendant Williams was present and was represented by his

counsel, James Brown. The government was represented by Assistant United States Attorney

Bruce Clark. At the evidentiary hearing, the government called Officer Christopher Jones and

Officer Ryan Sharp of the Grandview Missouri Police Department as witnesses. Defendant

Williams called Navnit Patel, Hotel Manager of the Super 8 Motel in Grandview, Missouri. On

the basis of all the evidence adduced at the evidentiary hearing, the undersigned submits the

following:

                              PROPOSED FINDINGS OF FACT

       1.      On March 15, 2005, officers of the Grandview Missouri Police Department were
               dispatched to the Super 8 Motel in Grandview, Missouri in response to a report of

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               the smell of marijuana in the second floor hallway of the motel. (Tr. 4-5, 23)

       2.      Upon their arrival at the motel, the officers responded to the second floor hallway
               and spoke with the motel guest responsible for the report1 who told the officers
               that he had been walking down the hall and smelled marijuana smoke but did not
               know from which room the smell was coming. (Tr. 6, 19, 23)

       3.      The officers walked the second floor hallway and determined that the smell
               appeared to be coming from Room 221. (Tr. 6, 23)

       4.      Officer Sharp knocked on the door of Room 221. An individual from inside
               Room 221 asked who it was. Officer Sharp responded that he was management
               and needed to open the door. The individual said, “hold on a minute” and the
               officers then heard what they described as a “rustling” sound similar to the sound
               of someone placing something inside a baggie or dumping something from a
               baggie. A moment later the door opened. (Tr. 6)

       5.      When the door was opened by an individual later identified as Alex Davis, the
               officers noticed a thick cloud of smoke smelling of marijuana inside the room. A
               towel blocking the bottom of the door was on the floor. (Tr. 6, 24)

       6.      The officers asked Davis to step into the hallway. Davis immediately told the
               officers that he had just been smoking a little marijuana and then produced a
               small baggie of marijuana and told officers that was all he had left. (Tr. 7, 24)

       7.      The officers then asked Davis if there was anyone else in the room. Davis said,
               “No, you can go in and look.” (Tr. 7, 24)

       8.      Officer Sharp and Officer Jones entered Room 221 while Officer Graef stayed in
               the hallway with Davis. No one else was in the room. (Tr. 7, 24)

       9.      While inside the room, Officer Jones saw marijuana on the table and marijuana
               butts in the ashtray. Officer Sharp recovered a large bag in the microwave which
               contained what the officers recognized as counterfeit currency.2 (Tr. 7-8, 24-25,
               31-32) Officer Jones also saw a large bulge sticking out of the corner of the bed.


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                Officer Jones remembers the hotel guest as having been an MP from Richard-
Gebaur Air Force Base who was staying at the hotel that night. (Tr. 16) The guest told the
officers that there was a smell in the hallway that he recognized as marijuana and asked the
officers to check it out. (Tr. 16)
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              It was later determined that the total amount of counterfeit currency in the bag
was $7,400. (Tr. 8)

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               He lifted the mattress and observed a loaded assault rifle. (Tr. 8, 24-25, 31)

       10.     Officer Jones advised Officer Graef that he had found a gun, at which time
               Officer Graef arrested Davis. (Tr. 8, 25) Davis stated that the gun did not belong
               to him and must have been left there by a previous motel guest. (Tr. 8)

       11.     As Officer Jones exited Room 221, Davis asked for his coat. Officer Jones
               retrieved the coat and upon checking it for weapons found another large bag of
               marijuana inside one of the pockets. (Tr. 9)

       12.     While standing in the hall under arrest, Davis stated that he had also rented Room
               222 across the hallway. (Tr. 9, 36-37) Davis also stated that whoever owned the
               weapon and the money had to be in Room 222. (Tr. 15, 25-26) Davis repeatedly
               stated, “I wish you guys would go in that room and get those guys.” (Tr. 25-26,
               33-34, 36-37)

       13.     While Officer Sharp escorted Davis to the patrol car, Officer Graef remained in
               the second floor hallway while Officer Jones went downstairs and informed motel
               management, Mr. Navnit Patel, that Davis was being arrested on narcotics and
               various other charges and would not be occupying Room 221 any longer. (Tr. 9,
               17)

       14.     Patel told Officer Jones that Davis had also rented the room across the hall (Room
               222) and asked Officer Jones to check that room as well and make certain no one
               was inside the room. (Tr. 9-10, 42-43, 45, 53-55) Officer Jones testified that Patel
               told Officer Jones that he did not believe anyone had arrived with Davis and that
               no one other than Davis was supposed to be occupying Rooms 221 and 221. (Tr.
               10)3

       15.     Officer Jones and Patel went to the second floor of the motel, where Officer Jones
               knocked on the door of Room 222 several times and announced himself as a
               police officer. After receiving no response, Officer Jones asked Patel for the key.
               (Tr. 11, 19)

       16.     When Officer Jones put the key into the lock and started to open the door, the


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               Patel testified that at the time Davis rented both rooms, he told Patel that he “had
a friend coming in.” (Tr. 42, 58) Patel further testified that he asked Davis if he should put down
another name and Davis said no. (Tr. 42, 58) Accordingly, Patel testified that it was “no
surprise” to him that there might be other people in Room 222. (Tr. 42, 48-50, 58-59) However,
Patel repeatedly testified that, out of concern for the security of his other guests, he asked Officer
Jones to check out Room 222 in light of the fact that Davis had just been arrested for illegal
weapons and narcotics. (Tr. 47-48, 54, 55, 56-57, 58)

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              door slammed closed. Officer Jones again announced himself as a police officer
              and told whoever was inside they needed to open the door. The individual inside
              – later identified to be Defendant Williams – asked if he could get dressed first.
              Officer Jones replied, “No, you need to open the door now.” The door opened
              with the chain in place and Defendant Williams repeated, “I’m not dressed, let me
              get dressed first.” Officer Jones told Defendant Williams that if he did not open
              the door the officers were going to force the door open. Officer Jones looked at
              Patel who nodded, giving his permission to force open the door. The door
              immediately slammed closed and the dead bolt was put in place. (Tr. 11).

       17.    Officer Jones kicked at the door and then heard what he believed to be the sound
              of a weapon being chambered. (Tr. 11, 20) Officers Jones and Graef then moved
              to either side of the door of Room 222, at which time Officer Jones heard what he
              believed to be a window opening. Officer Jones told Officer Graef that he
              believed Defendant Williams was going out the window. Officer Jones then
              forced the door open with his shoulder and entered Room 222. (Tr. 12)

       18.    Upon entering the room, Officer Jones saw Defendant Williams on the window
              sill attempting to get the window open. (Tr. 12) Officer Jones ordered Defendant
              Williams at gunpoint to get on the floor. Defendant Williams came off the
              window sill and laid down next to the bed with his hands off to the side. Officer
              Graef handcuffed Defendant Williams while Officer Jones kept him at gunpoint.
              (Tr. 12)

       19.    As Officer Graef was patting down Defendant Williams, Officer Jones pulled the
              mattress back and discovered a loaded handgun under the mattress. The
              magazine contained ammunition but there was no round in the chamber of the
              handgun. (Tr. 12-13, 20-21) Defendant Williams stated that the gun did not
              belong to him and that it must have been left by a previous guest. (Tr. 13)

                          PROPOSED CONCLUSIONS OF LAW

       Defendant Williams has moved the Court to suppress any and all evidence obtained by

law enforcement officers during his arrest, search of his person and search of Room 222 on

March 5, 2005. In support of his motion to suppress, Defendant Williams argues that the search

of Room 222 was illegal in that it occurred “without any probable cause, reasonable suspicion,

warrant or observed violation.” Motion to Suppress, Doc. #35 at p.2. In response, the

Government argues that Defendant William cannot challenge the search because, as a mere


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occupant of the hotel room, he had no legitimate expectation of privacy in Room 222. The

Government further contends that even if Defendant Williams could establish a reasonable

expectation of privacy in Room 222, “there [were] a number of reasons justifying the officers’

entry into Room 222 including actual consent to search by those having the authority to do so;

apparent consent to search by those having the authority to do so; and exigent circumstances.”

Government’s Response To Defendant’s Motion To Suppress, Doc. #38-1 at 4.

       The Fourth Amendment provides that “the right of the people to be secure in their

persons, houses, papers, and effects, against unreasonable searches and seizures, shall not be

violated. . . .” U.S. CONST. amend. IV. As made clear in the Fourth Amendment, the

constitution does not forbid all searches and seizures, but only unreasonable searches and

seizures. Elkins v. United States, 364 U.S. 206, 222, 80 S.Ct. 1437, 1446 (1960). Nonetheless,

as the United States Supreme Court pointedly noted over one hundred years ago:

               No right is held more sacred, or is more carefully guarded, by the
               common law, than the right of every individual to the possession
               and control of his own person, free from all restraint or
               interference of others, unless by clear and unquestionable authority
               of law.

Union Pacific Railroad Co. v. Botsford, 141 U.S. 250, 251, 11 S.Ct. 1000, 1001 (1891).

       In many search and seizure scenarios, the question of legal authority (as well as

reasonableness) is presumptively satisfied by a judicially-issued warrant. However, over the

years, many exceptions to the warrant requirement have been recognized. For instance, in Terry

v. Ohio, 392 U.S. 1, 88 S.Ct. 1868 (1968), the Supreme Court held that a law enforcement officer

can stop and briefly detain a person for investigatory purposes, even without a warrant, if the

officer has a reasonable suspicion – supported by articulable facts – that criminal activity “may


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be afoot,” even if the officer lacks probable cause for an arrest. Id. at 30, 88 S.Ct. at 1884-85. In

this case, there was no warrant. As such, two distinct issues are raised, to wit: (1) did Defendant

Williams have protected Fourth Amendment rights in Room 222, and (2) if he did, was there a

valid exception to the warrant requirement of the Fourth Amendment (e.g., consent and/or

exigent circumstances). The Court concludes that the actions of the law enforcement officers in

this case were justified and not in violation of Fourth Amendment in that:

       (1)     Defendant Williams had no legitimate expectation of privacy in
               Room 222;

       (2)     Alex Davis, in whose name Room 222 was registered, validly
               consented to a search of Room 222; and

       (3)     Exigent circumstances existed justifying forced entry into Room
               222.

The Court will briefly address each rationale.

       It is well settled that merely because individuals are guests in a hotel, motel, inn or other

temporary accommodation, they are still generally entitled to the protections of the Fourth

Amendment against unwarranted searches and seizures. See, e.g., United States v. Roby, 122

F.3d 1120, 1125 (8th Cir. 1997). Indeed, the initial analysis in such cases is the same no matter

the setting – did the defendant have a legitimate expectation of privacy. If the answer is no, then

the Fourth Amendment analysis ends.

       In this case, the fact that Defendant Williams was not the registered guest for Room 222

is compelling evidence that he was a mere visitor to the hotel room. The courts have concluded

that such “mere visitors” to someone else’s hotel/motel room do not enjoy an expectation of

privacy protected by the Fourth Amendment. See, e.g., Minnesota v. Carter, 525 U.S. 83, 90,

110 S.Ct. 1684) (1998); United States v. Sturgis, 238 F.3d 956, 958-59 (8th Cir. 2001); United

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States v. Carter, 854 F.2d 1102, 1105-06 (8th Cir. 1988) (among the factors to be considered

when evaluating a person’s expectation of privacy in a motel room are the facts that the

occupier never checked into the room, nor paid for the room”). Based on the evidence presented

at the suppression hearing,4 there is insufficient evidence to establish that Defendant Williams

was anything more than a mere visitor to Room 222. As such his Fourth Amendment rights were

not violated by the law enforcement officers entry into Room 222 nor by any of the actions that

followed thereafter.

       Furthermore, even if Defendant Williams did have a legitimate expectation of privacy in

Room 222, it is established law that an exception to the warrant requirement of the Fourth

Amendment is consent to search. Florida v. Jimeno, 500 U.S. 248, 251, 111 S.Ct. 1801 (1991).

In this case, there is credible evidence that Alex Davis, in whose name Room 222 was registered,

validly consented to a search of the room.

       An instructive case in this regard is United States v. Burns, 298 F.3d 523 (6th Cir. 2002).

In Burns, one defendant (Harden) moved to suppress evidence found during a search of the

motel room of another defendant (Burns). Id. at 542. Burns consented to a search of the motel

room – a search that found Harden and two bags of cocaine in the room. Id. at 534.




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               With regard to Fourth Amendment analysis, the defendant bears the burden of
establishing that he had a legitimate expectation of privacy. See, e.g., United States v. Green,
275 F.3d 694, 699 (8th Cir. 2001).

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       The Sixth Circuit, in affirming a denial of Harden’s motion to suppress, concluded that

Burns had at least “common authority or control”5 over the motel room, reasoning:

               The concept of “common authority or control” enables a co-
               occupant such as Burns to consent to a search if that party has the
               right to use or possess the property. Burns rented the room, had a
               key, and was the sole registered occupant. He therefore had the
               right to use or possess the room and the ability to consent to a
               search regardless of Harden’s presence there.

Id. at 542. In this case, even if one assumed that Defendant Williams was an overnight guest in

Room 222 clothed with a legitimate expectation of privacy under the Fourth Amendment, by

allowing Alex Davis to register as the legitimate occupier of the room, pay for the room and be

given a key to the room, Defendant Williams assumed the risk that Alex Davis might consent to

a search of Room 222.

       Finally, even assuming that Defendant Williams had a legitimate expectation of privacy

in Room 222 and assuming that Alex Davis could not validly consent to a search of that room,

the law enforcement officers were entitled to forcibly enter Room 222 based on the exigent

circumstances then appearing to them. It is axiomatic that emergency circumstances may take

precedence over traditional Fourth Amendment concerns and permit law enforcement officers to

take actions that might otherwise require a warrant.


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               The Supreme Court has defined “common authority or control” as:

               [The] mutual use of the property by persons generally having joint
               access or control for most purposes, so that it is reasonable to
               recognize that any use of the co-habitants has the right to permit
               the inspection in his own right and that the others have assumed
               the risk that one of their members might permit the common area
               to be searched.

United States v. Matlock, 415 U.S. 164, 171 n.7, 94 S.Ct 988 (1974).

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        While the exigent circumstances exception “is narrowly drawn,” it applies “if lives are

threatened, a suspect’s escape is imminent, or evidence is about to be destroyed.” United States

v. Ball, 90 F.3d 260, 263 (8th Cir. 1996). Moreover in assessing that danger during subsequent

court proceedings, “[t]he question . . . is not whether there was actual probable cause and exigent

circumstances, but whether the officers could reasonably have thought so.” Greiner v. City of

Columbia, 27 F.3d 1346, 1353 (8th Cir. 1994). In this case, the loaded weapon and narcotics

found in Room 221 and Alex Davis’ statement that the gun belonged to the people in Room 222,

the apparent sound of a weapon being chambered in Room 222, and the apparent sound of

someone attempting to escape through the motel window in Room 222, all combined to create a

sufficiently reasonable emergency situation to justify the action of entering Room 222 forcibly.

        Accordingly, it is

        RECOMMENDED that the Court, after making an independent review of the record and

applicable law, enter an order DENYING Defendant Jarvis T. Williams’ Motion To Suppress ,

filed December 1, 2005 (Doc. #35).

        Counsel are reminded that each has 10 days from the date of receipt of a copy of this

report and recommendation to file and serve specific objections to the same. A failure to file and

serve timely objections shall bar attack on appeal of the factual findings in this report which are

accepted or adopted by the district judge except upon the ground of plain error or manifest

injustice.



                                                        /s/ John T. Maughmer
                                                    John T. Maughmer
                                                 United States Magistrate Judge

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